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   B2100A (Form 2100A) (12/15)


                             United States Bankruptcy Court
                             _______________ District Of _______________
                                                         Colorado

         Peggy J Calloway
   In re ______________________________,                                     16-18858-KHT
                                                                    Case No. ________________



                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY
   A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
   Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
   transfer, other than for security, of the claim referenced in this evidence and notice.

   Chalet Properties III, LLC                                                  Ditech Financial LLC fka Green
   ______________________________________                                      Tree Servicing LLC
                                                                               ____________________________________
              Name of Transferee                                                           Name of Transferor

   Name and Address where notices to transferee                                 Court Claim # (if known): 4-1
   should be sent:                                                              Amount of Claim: 232,334.38
   c/o BSI Financial Services                                                   Date Claim Filed: 1/13/17
   1425 Greenway Drive, Ste 400
   Irving, TX 75038
          972-347-4350
   Phone: ______________________________                                       Phone: __________________________
                               7817
   Last Four Digits of Acct #: ______________                                                               7817
                                                                               Last Four Digits of Acct. #: __________

   Name and Address where transferee payments
   should be sent (if different from above):
   c/o BSI Financial Services
   314 S. Franklin Street, 2nd Floor
   Titusville, PA 16354
   Phone: _______________________________
   Last Four Digits of Acct #: _______________



   I declare under penalty of perjury that the information provided in this notice is true and correct to the
   best of my knowledge and belief.

      /s/ Michelle R. Ghidotti-Gonsalves
   By:__________________________________                                             11/12/18
                                                                                Date:____________________________
           Transferee/Transferee’s Agent


   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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                                                                           REDACTED
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                                                                            REDACTED
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